Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 1 of 11




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Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 2 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 3 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 4 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 5 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 6 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 7 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 8 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 9 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 10 of 11
Case 1:24-mj-02896-LMR Document 3 Entered on FLSD Docket 05/03/2024 Page 11 of 11
